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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION


  LEAGUE OF UNITED LATIN AMERICAN
  CITIZENS (LULAC), et al.,

                         Plaintiffs,                           Civil Action No. 3:21-cv-259
                                                               (DCG-JES-JVB)
                 v.                                            (consolidated cases)

  GREG ABBOTT, et al.,

                         Defendants.



                        JOINT STATUS REPORT CONCERNING
                       APPEALS AND MISCELLANEOUS ACTIONS

       Pursuant to this Court’s November 23 Order, ECF No. 654, the parties hereby provide a

status report concerning all pending and terminated appeals that stem from this matter, as well as

miscellaneous actions related to this case.

Brooks v. Abbott (Brooks Preliminary Injunction)

       This Court denied the Brooks Plaintiffs’ motion for a preliminary injunction on February

1, PI Order 3, ECF No. 176, and subsequently issued an opinion explaining the order, PI

Opinion, ECF No. 258. The Brooks Plaintiffs then entered a notice of appeal, Brooks NOA,

ECF No. 314, and the Supreme Court dismissed the appeal for want of jurisdiction. See Order,

Brooks v. Abbott, No. 22-136 (U.S. Nov. 21, 2022).

LULAC v. Guillen (Legislator Depositions)

       This Court denied motions to quash deposition subpoenas issued to legislators and

outlined procedures to address legislative privilege in a May 18 order. Dep. Order, ECF No.

282. The legislators then noticed an interlocutory appeal. See Dep. NOA, ECF No. 284. This
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Court denied a request for a stay pending appeal, Stay Order, ECF No. 296, and the Fifth Circuit

and Supreme Court subsequently denied relief as well, see LULAC v. Guillen, No. 22-50407,

2022 WL 271363, at *1 (5th Cir. May 20, 2022) (holding that Legislators’ assertion of state

legislative privilege was “not yet ripe”); Guillen v. LULAC, 142 S. Ct. 2773 (2022).

       Appellants then moved for the appeal to be held in abeyance, pending further orders from

this Court relating to depositions of legislators. Mot. for Abeyance, LULAC v. Guillen, No. 22-

50407 (5th Cir. June 7, 2022). The Fifth Circuit granted the relief requested and ordered

Appellants to submit monthly status reports. Order, LULAC v. Guillen, No. 22-50407 (June 17,

2022), ECF No. 348; see also Status Rep., LULAC v. Guillen, No. 22-50407 (Aug. 8, 2022); 2d

Status Rep., LULAC v. Guillen, No. 22-50407 (Sept. 8, 2022); 3d Status Rep., LULAC v. Guillen,

No. 22-50407 (Oct. 7, 2022); 4th Status Rep., LULAC v. Guillen, No. 22-50407 (Nov. 7, 2022).

Legislators have also amended their notice of appeal to incorporate later orders denying in whole

or in part motions to quash deposition subpoenas. Am. NOA, ECF No. 437; see also 2d Dep.

Order, ECF No. 340; 3d Dep. Order 409. The appeal continues to be held in abeyance, pending

resolution of Plaintiffs’ motions to compel use of legislative deposition testimony. See 4th

Status Rep. ¶ 3.

LULAC v. Patrick (Legislator Documents)

       This Court ordered Texas legislators, the Lieutenant Governor, and legislative employees

to produce documents responsive to subpoenas duces tecum, notwithstanding privilege claims.

Doc. Order, ECF No. 467; In Camera Review Order, ECF No. 642. Legislators filed a notice of

appeal, Doc. NOA, ECF No. 479, and the Fifth Circuit entered an administrative stay, Order,




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LULAC v. Patrick, No. 22-50662 (5th Cir. July 27, 2022). 1 The Court of Appeals then granted

Appellants’ motion to hold the appeal in abeyance, pending the resolution of LULAC Texas v.

Hughes, No. 22-50435 (another appeal concerning legislative privilege arising from separate

litigation concerning Texas Senate Bill 1 (Second Called Session of the 87th Legislature)), and

ordered the parties to file joint monthly status reports. Order, LULAC v. Patrick, No. 22-50662

(5th Cir. Sept. 15, 2022); see also Status Rep. LULAC v. Patrick, No. 22-50662 (5th Cir Nov. 4,

2022); 2d Status Rep., LULAC v. Patrick, No. 22-50662 (5th Cir Dec. 5, 2022). This Court’s

order remains stayed, and the appeal continues to be held in abeyance.

In re Bryan and United States v. Wienckowski

       The United States filed a subpoena enforcement action against Thomas Bryan and Eric

Wienckowski, third parties who are demographers retained by the law firm of Butler Snow. See

Mot. to Enforce, In re Bryan, No. 3:22-mc-230 (E.D. Va. June 14, 2022), ECF No. 1; Mot. to

Enforce, United States v. Wienckowski, No. 3:22-mc-219 (S.D.N.Y. June 15, 2022), ECF No. 2.

Local courts transferred both actions to this Court. See Order, United States v. Wienckowski, No.

3:22-mc-219 (S.D.N.Y. June 24, 2022), ECF No. 15; Order, In re Bryan, No. 3:22-mc-230 (E.D.

Va. July 5, 2022), ECF No. 8.

In re Kincaid

       Adam Kincaid and the National Republican Redistricting Trust, third parties subpoenaed

by the LULAC Plaintiffs about their involvement with counsel for certain members of the Texas

Congressional delegation related to Congressional redistricting, have moved to quash deposition




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 Legislators subsequently amended their notice of appeal to add an additional appellant. Am.
Doc. NOA, ECF No. 558. They intend to further amend their notice of appeal to incorporate this
Court’s related order resolving attorney-client privilege issues. See In Camera Review Order,
ECF No. 642.


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subpoenas or, in the alternative, for protective orders restricting their depositions. These motions

are pending in the U.S. District Court for the District of Columbia. Mot. to Quash, In re Kincaid,

No. 1:22-mc-67 (D.D.C. July 12, 2022), ECF No. 1. The motions have been fully briefed since

August 2. See U.S. Opp’n, In re Kincaid, No. 1:22-mc-67 (D.D.C. July 26, 2022), ECF No. 6;

LULAC Opp’n, In re Kincaid, No. 1:22-mc-67 (D.D.C. July 27, 2022), ECF No. 7; Reply to

U.S., In re Kincaid, No. 1:22-mc-67 (D.D.C. Aug. 2, 2022), ECF No. 8; Reply to LULAC, In re

Kincaid, No. 1:22-mc-67 (D.D.C. Aug. 2, 2022), ECF No. 9. 2 The United States requested

expedited consideration in light of the September trial date, Mot. to Expedite, In re Kincaid, No.

1:22-mc-67 (D.D.C. Aug. 16, 2022), ECF No. 10, but informed the enforcement court once the

trial date had been vacated, see Trial Date Notice, In re Kincaid, No. 1:22-mc-67 (D.D.C. Aug.

30, 2022), ECF No. 12.

In re Dave’s Redistricting App / Jetton v. United States

       Texas Representative Jacey Jetton and Adam Foltz, an employee of the Texas Legislative

Council assigned to assist House Redistricting Chair Todd Hunter, have moved to quash a

subpoena duces tecum issued to Dave’s Redistricting App, a third-party software provider. This

is pending in the U.S. District Court for the Western District of Washington. See In re Dave’s

Redistricting App, No. 2:22-mc-69 (W.D. Wash. Aug. 12, 2022), ECF No. 1. The motion has

been fully briefed since August 26. See U.S. Response, In re Dave’s Redistricting App, No.

2:22-mc-69 (W.D. Wash. Aug. 23, 2022), ECF No. 8; Reply Mem., In re Dave’s Redistricting

App, No. 2:22-mc-69 (W.D. Wash. Aug. 26, 2022), ECF No. 9. The United States had

highlighted the September trial date in its opposition, U.S. Response at 2, and thereafter



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 Following supplemental briefing, the enforcement court granted LULAC Plaintiffs’ motion for
an extension of time to file their opposition to the motion to quash, nunc pro tunc. Minute
Order, In re Kincaid, No. 1:22-mc-67 (D.D.C. Sept. 26, 2022).

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informed the enforcement court when this Court vacated that date, see U.S. Notice, Jetton v.

United States, No. 2:22-cv-1203 (W.D. Wash. Aug. 30, 2022), ECF No. 16. The enforcement

court then ordered the parties to submit a joint status report by February 13, 2023, or within five

days of any significant case development, Minute Order, Jetton v. United States, No. 2:22-cv-

1203 (W.D. Wash. Nov. 15, 2022), ECF No. 19. 3

Morris v. State of Texas

       A pro se plaintiff brought a constitutional challenge to Texas’s reapportionment of

Congressional districts in the U.S. District Court for the Southern District of Texas. Compl.,

Morris v. Texas, No. 4:21-cv-03456 (S.D. Tex. Oct. 20, 2021), ECF No. 1. No party requested

consolidation with the above-captioned case, and a single district court judge granted

Defendants’ motion to dismiss. Order, Morris v. Texas, No. 4:21-cv-03456 (S.D. Tex. June 8,

2022), ECF No. 26. Plaintiff appealed the district court’s dismissal of his claims, and the appeal

has now been fully briefed. See Morris v. State of Texas, No. 22-20348 (5th Cir.).

Dated: December 7, 2022




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 Following the completion of briefing, the enforcement court removed the matter from the
miscellaneous docket and assigned a new caption and civil action number. See Order, In re
Dave’s Redistricting App., No. 2:22-mc-69 (W.D. Wash. Aug. 29, 2022), ECF No. 11.

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                                CERTIFICATE OF SERVICE

        I hereby certify that, on December 7, 2022, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification of this filing to counsel
of record.


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